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                      Exhibit A
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                                   Texas v. Biden Monthly Report
                          Reporting Period: March 1, 2022 – March 31, 2022


(1) The total monthly number of encounters1 at the southwest border (SWB);

Encounter data includes U.S. Border Patrol (USBP) Title 8 Apprehensions2 between the ports of entry along the
SWB, Office of Field Operations (OFO) Title 8 Inadmissibles3 at land ports of entry along the SWB, and Title
42 Expulsions4 at and between the ports of entry along the SWB.


               March 2022 as of April 6, 2022                Title 42          Title 8        Total Encounters
               Office of Field Operations                         2,400            8,997                11,397
                 El Paso Field Office                               198              856                 1,054
                 Laredo Field Office                              1,105            2,026                 3,131
                 San Diego Field Office                             847            5,612                 6,459
                 Tucson Field Office                                250              503                   753
               U.S. Border Patrol                              107,149          102,757                209,906
                 Big Bend Sector                                  2,937              716                 3,653
                 Del Rio Sector                                  15,593           26,028                41,621
                 El Centro Sector                                 3,947            3,619                 7,566
                 El Paso Sector                                  15,900            9,714                25,614
                 Laredo Sector                                   12,486            1,293                13,779
                 Rio Grande Valley Sector                        20,703           23,370                44,073
                 San Diego Sector                                12,495            4,165                16,660
                 Tucson Sector                                   21,433            5,800                27,233
                 Yuma Sector                                      1,655           28,052                29,707
               Grand Total                                     109,549          111,754                221,303




1
  The sum of Title 8 apprehensions/inadmissible aliens and expulsions.
2
  Apprehension refers to the physical control or temporary detainment of a person who is not lawfully in the U.S. which may or may
not result in an arrest.
3
  Inadmissible refers to individuals encountered at ports of entry who are seeking lawful admission into the United States but are
determined to be inadmissible, individuals presenting themselves to seek humanitarian protection under our laws, and individuals who
withdraw an application for admission and return to their countries of origin within a short timeframe.
4
  Expulsions refers to individuals encountered by USBP and OFO and expelled to the country of last transit or home country in the
interest of public health under Title 42 U.S.C. 265.

                                                                 1
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(2) The total monthly number of aliens expelled under Title 42, Section 1225, or under any other statute;

            Title 42 expulsions at and between the ports of entry along the SWB5
                              March 2022 as of April 6, 2022                  Title 42
                              Office of Field Operations                         2,400
                                El Paso Field Office                               198
                                Laredo Field Office                              1,105
                                San Diego Field Office                             847
                                Tucson Field Office                                250
                              U.S. Border Patrol                               107,149
                                Big Bend Sector                                  2,937
                                Del Rio Sector                                  15,593
                                El Centro Sector                                 3,947
                                El Paso Sector                                  15,900
                                Laredo Sector                                   12,486
                                Rio Grande Valley Sector                        20,703
                                San Diego Sector                                12,495
                                Tucson Sector                                   21,433
                                Yuma Sector                                      1,655
                              Grand Total                                      109,549

            Southwest Land Border Removals/Returns under Title 8, based on encounter date6
                  Total Removals and Returns Under Title 8            March 2022
                  U.S. Border Patrol                                           10,071
                                     7
                    Bag and Baggage                                                58
                                     8
                    Voluntary Return                                            3,012
                    Expedited Removal                                           3,733
                    Reinstatement of Removal                                    2,368
                    Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C)                  900
                  Office of Field Operations                                    1,999
                    Bag and Baggage                                                 2
                    Voluntary Return                                               79
                    Expedited Removal                                             472
                    Reinstatement of Removal                                        3
                    Withdrawal of Application for Admission                     1,443


5
  Same as Title 42 expulsion data provided in response to 1 above.
6
  Indicates that the noncitizen was encountered during the reporting period (March 1, 2022 – March 31, 2022).
7
  When a noncitizen encountered or apprehended by CBP has been previously ordered removed by an immigration judge and the order
was never executed (i.e., in absentia). The removal order may be immediately executed by CBP or CBP may turn the noncitizen over
to ICE for removal.
8
  Constitutes a request by a non-citizen to be permitted to return to their country of citizenship on a voluntary basis, in lieu of being
formally removed or placed into removal proceedings.

                                                                   2
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                   Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C)
                 Grand Total                                                                       12,070


(3) Defendants’ total detention capacity as well as current usage rates;

         OFO Holding Capacity – Southwest Border in Custody9
                Detention Capacity        March 2022
                        935              229 (24.5%)10

         USBP Average Daily Subjects In Custody by Southwest Border Sector11
                USBP Sector        March 2022
                Big Bend                       30
                Del Rio                     2,066
                El Centro                     359
                El Paso                     1,456
                Laredo                        966
                Rio Grande                  3,468
                San Diego                     936
                Tucson                        761
                Yuma                        2,495
                Total                      12,537




9
  Represents an estimate of each cell's coded occupancy limit, as outlined in technical design standards when constructed, multiplied
by the total number of cells for all ports of entry within each field office. This number does not account for the unique circumstances
that may limit the occupancy of a given cell (e.g., high risk, nursing/pregnant, transgender, unaccompanied minor, etc.) nor does it
reflect operational limitations that affect a port's capacity to detain. CBP’s capacity to detain individuals in its short-term facilities
depends on many factors, including: demographics of the individual in custody; medical or other needs of individuals in custody;
ability of ICE ERO (or, if an unaccompanied child, the U.S. Department of Health and Human Services) to transfer individuals out of
CBP custody; and OFO's available resources to safely process and hold individuals.
10
   Represents the average number of travelers in custody on a daily basis averaged over the number of days in the calendar month, at
all Southwest Border Field Office locations. Travelers include inadmissible individuals, lawful permanent residents, asylees, refugees,
and United States Citizens who are being detained to verify wants, warrants, criminal, administrative or other judicial process.
11
   U.S. Border Patrol facilities, such as stations and central processing centers, provide short-term holding capacity for the processing
and transfer of individuals encountered by agents. Maximum facility capacity along the southwest border is approximately 5,000,
which assumes a homogenous population and full operating status at all facilities. Actual capacity fluctuates constantly based on
characteristics of in-custody population, to include demographics, gender, criminality, etc. The average percentage of subjects in
custody on a daily basis is 244%, which is averaged over the number of days in the calendar month and includes all Southwest Border
Sector locations.
                                                                    3
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                                     4
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(4) The total monthly number of “applicants for admission”12 under Section 1225;

                                       March 2022 as of April 6, 2022                 Title 8
                                       Office of Field Operations                         8,997
                                         El Paso Field Office                               856
                                         Laredo Field Office                              2,026
                                         San Diego Field Office                           5,612
                                         Tucson Field Office                                503
                                       U.S. Border Patrol                              102,757
                                         Big Bend Sector                                    716
                                         Del Rio Sector                                 26,028
                                         El Centro Sector                                 3,619
                                         El Paso Sector                                   9,714
                                         Laredo Sector                                    1,293
                                         Rio Grande Valley Sector                       23,370
                                         San Diego Sector                                 4,165
                                         Tucson Sector                                    5,800
                                         Yuma Sector                                    28,052
                                       Grand Total                                     111,754


(5) The total monthly number of “applicants for admission” under Section 1225 paroled into the United
    States; and
                      Southwest Border Paroles                                         March 2022 Paroles
                      U.S. Border Patrol                                                                  24,753
                        Parole Disposition                                                                24,753
                      Office of Field Operations                                                           9,565
                        NTA and Paroled into the U.S. on a case-by-
                                                                                                           6,069
                        case basis pursuant to 8 U.S.C. § 1182(d)(5)
                        Parole Disposition                                                                 3,496
                      Grand Total                                                                         34,318




12
  An applicant for admission is defined as “[a]n alien present in the United States who has not been admitted or who arrives in
the United States (whether or not at a designated port of arrival and including an alien who is brought to the United States after having
been interdicted in international or United States waters).” 8 U.S.C. § 1225(a)(1). Thus, an applicant for admission may include
noncitizens that have never been encountered by CBP. At this time, CBP does not have a mechanism to track all applicants for
admission in the United States that are not encountered by CBP. CBP has included the same data as the Title 8 encounter data
provided in response to 1 above.

                                                                    5
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(6) The total monthly number of “applicants for admission” under Section 1225 released into the United
    States, paroled or otherwise.”13


                      Southwest Border Releases                                                           March 2022 Releases

                      U.S. Border Patrol                                                                                        56,206
                        Notice To Report14
                        Notice to Appear - Order of Release on Recognizance                                                     31,453
                        Parole Disposition                                                                                      24,753
                      Office of Field Operations                                                                                 9,565
                        NTA and Paroled into the U.S. on a case-by-case basis
                                                                                                                                 6,069
                        pursuant to 8 U.S.C. § 1182(d)(5)
                        Parole Disposition                                                                                       3,496
                      Grand Total                                                                                              65,771




13All numbers in reporting requirement 6 are “based on encounter date,” as defined above.
14Individuals who are screened by CBP, and after criminal and immigration records checks are conducted to determine if the subject is a threat to
national security or public safety, are then released and instructed to report to U.S. Immigration and Customs Enforcement (ICE) for continued
processing.
                                                                         6
